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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-244

vs.                                             PRELIMINARY ORDER OF
                                                     FORFEITURE
LUIS VALLEJO,

                  Defendant.

       The superseding indictment in this case (filing 141) charged the
defendant with conspiring to distribute or possess with intent to distribute a
mixture or substance containing methamphetamine (count 1) and possession
of actual methamphetamine with intent to distribute (count 4), in violation of
21 U.S.C. §§ 841 and 846. The superseding indictment contained a forfeiture
allegation pursuant to 21 U.S.C. § 853, seeking the forfeiture of, among other
things, $772.00 and $4,000.00 in United States currency seized from an
apartment involved in this case and $4,900.00, $777.00, and $680.00 in
United States currency seized from the defendant. Filing 141 at 3.
       A jury found the defendant guilty as to both counts 1 and 4. The parties
were asked whether either would request a jury determination of forfeiture
pursuant to Fed. R. Crim. P. 32.2(b)(5), and neither party made such a
request. The parties were also asked whether either would request a hearing
or offer additional evidence or information relevant to forfeiture pursuant to
Rule 32.2(b)(1)(B); neither party requested a hearing, and both parties stated
that they would submit the issue on the trial record. The matter of forfeiture
is, therefore, submitted to the Court on the evidence already in the record.
See Fed. R. Crim. P. 32.2(b)(1)(B).
       The Court finds that the following properties are subject to forfeiture:

      1.    $772.00 and $4,000.00 in United States currency; and

      2.    $4,900.00, $777.00, and $680.00 in United States currency.

      The evidence presented at trial showed that the currency was found in
a small apartment being used to run a methamphetamine distribution
scheme. Large amounts of methamphetamine were found in the apartment,
along with a firearm and an apparent drug ledger. The jury found that the
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defendant was a member of the conspiracy to distribute methamphetamine,
and that he possessed, with intent to distribute, over 50 kilograms of actual
methamphetamine. There was no evidence that the defendant acquired any
of this money in a lawful manner. Thus, the Court finds that the amounts of
currency described above were proceeds obtained directly or indirectly from
violations of 21 U.S.C. §§ 841 and 846, and that the defendant's interest in
the property is subject to forfeiture.

     THEREFORE, IT IS ORDERED:

     1.    The plaintiff is authorized to seize the property described
           above.

     2.    The defendant's interest in the property is forfeited to the
           plaintiff for disposition in accordance with law, subject to
           the provisions of 21 U.S.C. § 853(n)(1).

     3.    The property is to be held by the plaintiff in its secure
           custody and control.

     4.    Pursuant to 21 U.S.C. § 853(n)(1), the plaintiff shall
           publish for at least thirty consecutive days on an official
           Internet government forfeiture site (www.forfeiture.gov)
           notice of this order, notice of publication evidencing the
           plaintiff's intent to dispose of the property in such manner
           as the Attorney General may direct, and notice that any
           person, other than the defendant, having or claiming a
           legal interest in the property must file a petition with the
           Court within thirty days of the final publication of notice or
           of receipt of actual notice, whichever is earlier.

     5.    Such published notice shall state that the petition referred
           to in paragraph 4, above, shall be for a hearing to
           adjudicate the validity of the petitioner=s alleged interest in
           the property, shall be signed by the petitioner under
           penalty of perjury, and shall set forth the nature and extent
           of the petitioner's right, title, or interest in the property
           and any additional facts supporting the petitioner=s claim
           and relief sought.




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     6.    The plaintiff may also, to the extent practicable, provide
           direct written notice to any person known to have alleged
           an interest in the property as a substitute for published
           notice as to those persons so notified.

     7.    Upon adjudication of all third-party interests, this Court
           will enter a final order of forfeiture pursuant to
           21 U.S.C. § 853(n), in which all interests will be addressed.

     Dated this 11th day of February, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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